                 Case:23-13858-JGR Doc#:80 Filed:02/29/24                                     Entered:02/29/24 10:08:54 Page1 of 2

 Fill in this information to identify your case:

  Debtor 1                  Sandra                 Rosemary        Oldenburg
                           First Name              Middle Name     Last Name

  Debtor 2                  Lee                    Michael         Oldenburg
  (Spouse, if filing)      First Name              Middle Name     Last Name                                               Check if this is:

                                                                  District of Colorado
                                                                                                                           ✔ An amended filing
                                                                                                                           ❑
  United States Bankruptcy Court for the:
                                                                                                                           ❑ A supplement showing postpetition
  Case number                     23-13858 JGR                                                                                chapter 13 income as of the following date:
  (if known)

                                                                                                                              MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                            Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status          ✔ Employed ❑ Not Employed
                                                                        ❑                                                   ✔ Employed ❑ Not Employed
                                                                                                                            ❑
     attach a separate page with
     information about additional            Occupation                 Property manager                                    Business Teacher
     employers.
                                             Employer's name            Silva Markham Partners                              Weld County RE4 School District
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address         1325 S. Colorado Blvd.                              1020 Main St.
     Occupation may include student                                      Number Street                                       Number Street
     or homemaker, if it applies.




                                                                        Denver, CO 80222                                    Windsor, CO 80550
                                                                         City                     State     Zip Code         City                State     Zip Code
                                             How long employed there? 2 months                                               7 months


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1     For Debtor 2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.          2.               $7,500.00                 $4,750.00

 3. Estimate and list monthly overtime pay.                                              3.   +               $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                         4.               $7,500.00                 $4,750.00




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 Debtor 1                 Sandra                       Rosemary                        Oldenburg
 Debtor 2                 Lee                          Michael                         Oldenburg                                     Case number (if known) 23-13858 JGR
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.            $7,500.00                $4,750.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.           $1,462.50                 $726.75

       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                 $200.00

       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00

       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00

       5e. Insurance                                                                                           5e.             $150.00                 $900.00

       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00

       5g. Union dues                                                                                          5g.               $0.00                    $0.00
       5h. Other deductions. Specify: Vision and dental                                                        5h.    +         $75.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.            $1,687.50                $1,826.75

 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.            $5,812.50                $2,923.25
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00

       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00

       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00

       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.               $0.00                    $0.00

       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify: Coaching high school sports                                          8h.    +          $0.00        +         $900.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.                $0.00                  $900.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $5,812.50    +           $3,823.25         =          $9,635.75

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $9,635.75

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
